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                          UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF INDIANAPOLIS DIVISION



 IN RE:

 ITT EDUCATIONAL SERVICES, INC. et al.1                                    Chapter 7

                                      Debtors                              Case No. 16-07207-JMC-7A




        STUDENT CLAIMANTS’ MOTION TO APPROVE A DISTRIBUTION PLAN,
     INCLUDING AN AWARD OF ATTORNEYS’ FEES AND EXPENSES, AND STUDENT
                      CLAIMANTS’ INCENTIVE AWARDS

  Student Claimants Jorge Villalba, James Eric Brewer, Joshua Cahill, Juan Hincapie, and Cheryl

 House (“Student Claimants” or “Class Representatives”), on behalf of themselves and all other

 similarly situated (“Class Members” or “Student Class” or “the Class”) respectfully submit this

 Motion, pursuant to Federal Rules of Civil Procedure (“FRCP”) 23(a) and (b) (2) and Federal

 Rules of Bankruptcy Procedure (“FRBP”) 9014 applying FRBP 7023, seeking approval for a

 plan to distribute Common Funds to student Class Members, award attorneys’ fees and expenses

 to The Project on Predatory Student Lending (“the Project”), and award Student Claimant

 incentive awards (all together, “Distribution Plan”).

                                                      JURISDICTION

 1. The Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and 1334.

 2. This is a core proceeding within the meaning of 28 U.S.C. §157(b) (2).

 3. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.



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  The debtors in these cases, along with the last four digits of their respective federal tax identification numbers are
 ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].

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 4. The basis for relief requested herein are the Federal Rules of Bankruptcy Procedure 7023 and

    the Court’s Final Approval Order of the Settlement [Doc No. 3079] (the “Final Approval

    Order”).

                    I.      PROCEDURAL HISTORY AND BACKGROUND

 5. On January 3, 2017, the Student Claimants, on behalf of themselves and all other similarly

    situated, filed a Class Action Adversary Complaint in the Bankruptcy Court against the

    Debtors (ITT and Daniel Webster College students are collectively referred to as “ITT”

    students). On December 18, 2017, the Student Claimants and the Trustee entered into the

    Settlement Agreement, and on January 3, 2018, the Trustee filed with the court a Motion for

    Authority to Enter into Settlement of Student Class Action [Doc. No. 2288].

 6. On January 25, 2018, the Court entered its Preliminary Approval Order (i) certifying this

    matter as a class action pursuant to FRCP 23(a) and (b) (2) and under FRBP 7023, which the

    Court deemed applicable pursuant to FRBP 9014, comprised of students who attended

    educational programs offered by the Debtors between January 1, 2006 and the date of the

    petition commencing this Chapter 7 proceeding (the “Student Class” and/or “Class

    Members”) and (ii) preliminarily approving the proposed Settlement Agreement between the

    parties. The Settlement Agreement reflects a comprehensive agreement with respect to

    former students including (i) the release and discharge of amounts owed by the students to

    the Debtors, their affiliates and their assignees, (ii) return of sums paid after the petition date

    and (iii) the allowance of a class general unsecured claims, each in the amount of

    $1,500,000,000, in each of the debtors’ proceedings. This amount may be reduced dollar-for-

    dollar by the amount of any federal student loan discharges received by the Student Class by

    the Department of Education, but shall not be reduced below the amount of $1,099,896,000.



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 7. The Preliminary Approval Order provided that the Trustee would send by first class mail a

    notice (the “Student Notice”) in the form approved by the Court to the members of the

    Settlement Class who had filed individual proofs of claim, former students listed as account

    debtors on the accounts placed for servicing or collection with any and all credit agencies for

    collection and who have made payments on account of such accounts since the petition date),

    and all parties who requested they receive notice in this case. The Preliminary Approval

    Order also directed the Trustee to post a copy of Student Notice on the Rust Omni website

    for the bankruptcy cases and the Debtors’ website. The Notice distributed by the Trustee

    stated that: (a) students should not make payments on their loans to the Debtors, (b) students

    were entitled to object to the proposed Settlement Agreement by submitting papers in

    opposition to the Settlement Motion [Doc No. 2290] on or before April 24, 2018; and (c)

    students were entitled to opt out of the Student Class on or before March 1, 2018. The Court

    upheld the Trustee’s Notice as sufficient and adequate.

 8. In the Final Approval Order [Doc No. 3079] issued on November 20, 2018 (“Final Approval

    Order”), and made final in March 2019, the Court approved the above-described Settlement

    Agreement.

 9. The Court stated in the Final Approval Order that “Class Representatives shall promptly file

    a proposed division of any… distribution upon notification from the Trustee of the likely

    amounts of funds to be paid on account of the Proofs of Claim.” [Doc. No. 3079 ¶7].

 10. On September 16, 2021, counsel for the Department of Education, in writing to both Student

    Claimants’ counsel and the Trustee, reported that the Department of Education has so far

    discharged approximately $442,000,000 in ITT-related loans for Class Members, which per




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    the Settlement Agreement, reduces the Student Class’s unsecured claim in each of the

    debtors’ proceedings to the amount of $1,099,896,000.

 11. On October 14, 2021, the Trustee filed the Trustee’s Motion for Authority to Make Interim

    Distributions to Holders of Allowed Priority Claims and Allowed Unsecured Claims

    (“Trustee’s Motion for Interim Distributions”) [ Doc. No. 4505, Doc. No. 94 DWC Estate].

    This motion was approved by the court. [Doc. No. 98, DWC Estate].

 12. The Trustee’s Motion for Interim Distributions reported a distribution amount to the Student

    Class of $8,421,642.84 (“First Distribution”).

 13. The Trustee has also indicated to Student Class counsel that she hopes to make additional

    distributions in the latter part of 2022, or 2023, and that the Student Class will receive a

    significant portion of any future distributions as it holds the largest allowed unsecured claim

    in all three cases.

 14. On October 25, 2021, Student Claimants filed Student Claimants’ Motion to Retain a Claims

    Administrator and Hold First Distribution Funds [ Doc. No. 4509] seeking, among other

    things, the authority to retain American Legal Claims Services (“ALCS”). Student

    Claimants’ Motion to Retain a Claims Administrator and Hold First Distribution Funds was

    approved in part. [ Doc. No. 4519]. The Order stated that, “Student Claimants are hereby

    authorized to retain American Legal Claim Services LLC (“ALCS”) as claims administrator

    in accordance with the Proposed ALCS Agreement for the purpose of (1) initially holding,

    until a later date, any initial distribution (“First Distribution”) by the Chapter 7 Trustee from

    the Daniel Webster College, Inc. estate (“DWC Estate”); and (2) upon receipt of any

    subsequent, more substantial distributions from the ESI and/or ITT estates (“Subsequent

    Distributions”), to execute the notices and distributions to Student Class Members in



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    accordance with a distribution plan approved by the Court.” In addition, the Order stated,

    “Students Claimants shall file and serve a motion for approval of their proposed distribution

    plan in accordance with the Order Establishing Certain Notice, Case Management and

    Administrative Procedures and Approve Proposed Form 309D (Docket No. 220) (the “Case

    Management Order”) so that such motion and proposed distribution plan can be heard at the

    omnibus hearing on February 16, 2022 at 1:30 p.m. prevailing Eastern time. Notwithstanding

    anything to the contrary in the Case Management Order, service of such motion and

    proposed distribution plan shall be given to the same parties that received service of the

    Motion.”

 15. Per the Court’s Order granting Student Claimants’ Motion to Retain a Claims Administrator

    and Hold First Distribution Funds, Student Claimants have retained ALCS under the form of

    contract attached to the October 25, 2021 motion (the “ALCS Contract”).

 16. ALCS received the First Distribution on December 7, 2021, which has been deposited into a

    Qualified Settlement Fund (“QSF”).

 17. The First Distribution and any and all other distributions made by the Trustee constitute the

    funds from which the Distribution Plan will be effectuated (the “Common Fund”).

                                   II.     DISTRIBUTION PLAN

            A. Distribution of Common Fund to Class Members

 18. Student Claimants submit the following Distribution Plan to achieve the goal of distributing

    the Common Fund in a manner that is thoughtful and fair, but also the least burdensome on

    Class Members. The Class Members have already suffered profound harm, and Student

    Claimants counsel seeks to make this process as easy and fair as possible for them.




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                       i. Amount to Each Class Member

 19. After consulting with class action experts and considering how to maximize fairness and

     minimize burden, Student Class counsel, in consultation with Class Claimants, determined

     the most appropriate approach is to divide the Common Fund to reflect, as best possible, the

     relative harm that each Class Member suffered because of ITT. The Class Claimants believe

     that this harm can best be measured by the number of class credits earned and attempted by

     each member of the Class.

 20. This is the fairest way of assessing harm because it measures how long and how deeply each

     Class Member was associated with a school that failed its students. This is also the least

     burdensome method on Class Members because Student Class counsel already has access to

     the class credit information, and Class Members will not be required to provide any more

     information or documentation in order to receive their distribution.

 21. The Trustee has provided Student Class counsel with several excel files containing Class

     Member contact information and attendance records. The data that was provided to Student

     Class counsel by the Trustee includes information for each Class Member reflecting the

     amount of credits each student attempted to complete and amount of credits completed.

 22. Student Class counsel has provided the excel files to ALCS. After reviewing and sorting the

     files, ALCS has determined that there are currently 449,2012 unique identification numbers

     that correspond to individual Class Members.




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   As more fully described in paragraph 36, to the extent that other Class Members emerge after the First
 Distribution, Student Class counsel, working with ALCS, will make efforts to adjust subsequent distributions in
 include those Class Members.

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 23. The amount that each Class Member will receive will be a percentage of the Common Fund,

    net of (i) the claims administrator fees and expenses payable under the ALCS Contract in

    connection with the distribution of the Common Fund and (ii) any attorneys’ fees and

    expenses payable to the Project on Predatory Student Lending and any Student Claimant

    incentive awards, as each are described below.

 24. The computation for determining the percentage of the Common Fund distributable to each

    Class Member is as follows:

              Each Class Member will receive a portion of the Common Fund available for

               distribution based on the number of credits they earned and the credits they

               attempted to earn but did not complete divided by the total credits earned and

               attempted by all members of the Class.

              The earned credits will be weighted at three (3) times the attempted credits,

               because withdrawal from a course or courses before credit was earned may have

               mitigated some of the harm because the student may have not been charged for

               the course or received a refund.

              If a Class Member’s total amount due is less than $10.00 from the First

               Distribution, that amount will be set aside until a further distribution is made. The

               Student Claimants set that threshold because ALCS, and other experts with whom

               the Student Class counsel has consulted, have advised that a significant

               percentage of checks in de minimis amounts will simply not be cashed by the

               recipient. The Student Claimants propose that if the total amount to due to any

               Class Member, after giving effect to subsequent distributions, is $10.00 or greater,




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                any Class Member who did not receive a distribution from the First Distribution

                will have that amount added to any subsequent distributions.

               If a Class Member’s total amount due from all distributions does not equal or

                exceed $10.00, they will not receive a distribution.

 27. ALCS has calculated an initial distribution of $ 7,310,428.44 (which reflect the amounts

 received from the Trustee less (i) amounts payable under the ALCS Contract and (ii) the

 attorneys’ fees and expenses, and incentive payments sought below, to the extent permitted by

 this Court). Under the proposed Distribution Plan:

                           (i)     Eighty-nine percent (89%), by dollar amount, of the initial

                                   distribution (or $ 6,503,990.70) will be distributed to identified

                                   members of the Student Class whose payment amount will

                                   equal or exceed $10.00.

                           (ii)    Forty-nine percent (49%), by number, of the members of the

                                   identified Student Class will not receive a distribution because

                                   the payment amount would be less than $10.00. This would

                                   mean that approximately $806,000 of the $7,310,428.44 will be

                                   reserved for a later distribution.

 25. In order to make a distribution, ALCS will use the skip-trace methods described more fully

    below to verify addresses that have been provided by the Trustee. As described below, Class

    Members will be given the option to receive their distribution payment either via a mailed

    check or through electronic means.

 26. If a Class Member does not respond with any updated contact address information, but

    ALCS has what appears to be a valid address for that Class Member, the Class Member will



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    nonetheless receive a distribution check. Class Members will have ninety days (90) to cash

    any distribution check.

 27. Class Members who do not cash or claim their distribution from the First Distribution will

    have any amounts payable rolled over to the second distribution. However, if such Class

    Member does not cash or claim their distribution from the second distribution, all amounts

    otherwise payable to such Class Member will revert to the Common Fund and such Class

    Member will not receive any subsequent distributions.

                ii. Notice of Distribution Plan and Tracing of Class Members

 28. Student Claimants believe that the Trustee has provided them with sufficient information for

    ALCS to give effective notice of any approved Distribution Plan. The excel files provided by

    the Trustee include addresses and personal email addresses and the notice will include a

    request for Class Members to update and confirm their contact information.

 29. The information provided by the Trustee was last updated in September 2016, over 5 years

    ago, when ITT closed its doors. Because the Class includes former ITT students who

    attended ITT as long ago as 2006, much of the information may be stale.

 30. In light of the age of the information, ALCS will use the technological tools available to

    either verify the email addresses on file or obtain the current email addresses for Class

    Members.

 31. ALCS will take the following steps to provide email notice of the Distribution Plan and

    request for contact updates to Class Members:

                    i. Check the email addresses for syntax.

                    ii. Confirm that the domain name the email address is hosted on exists, is

                        registered, and working properly.



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                    iii. Analyze the emails so as to check for spam traps, complainers, etc. that

                        will negatively impact deliverability.

                    iv. Deploy the technical process of pinging the email address and then

                        awaiting server-response to confirm the email address exists on the server

                        and is active.

  32. If ALCS is not able to verify and send an email notice to a Class Member, but does have a

     valid physical mailing address, ALCS will mail a notice through the U.S. postal service.

  33. In addition to mailed and e-mailed notice, ALCS will provide a website that will allow Class

     Members to view court documents and ask questions. ALCS will also set up a call center that

     provides a toll-free line for Class Members to call with questions and obtain information.

  34. The emailed and/or postal notice to each Class Member will contain the following

     information:

            A description of the Distribution Plan;

            The current address on file for the Class Member;

            The credits earned and attempted on file for the Class Member;

            Information on how to change the address;

            Information on how to obtain an electronic payment;

            Information about a dedicated webpage for the distribution; and

            The toll-free line for Class Members to call with questions.

  35. After ALCS has completed its verification process, it will mail checks or make electronic

     payments to all Class Members whose address it has been able to verify.

  36. The Student Claimants and ALCS anticipate that certain Class Members may only surface

     after the Initial Distribution has been made. This could happen for several reasons, including


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     because the excel information obtained by the Trustee from ITT was incomplete or because

     Class Members are not traceable from the available information. As noted above, the

     distribution amount has been calculated based on all the identified Class Members from the

     files provided by the Trustee. As is the case with Class Members with initial distribution

     amounts of less than $10.00, ALCS will reserve amounts payable to late-surfacing Class

     Members who are reflected on the Trustee’s excel files until the second distribution. ALCS

     will also provide a procedure on its website for any former ITT student who claims that they

     are a Class Member (but who are not reflected on the Trustee’s excel files) to provide

     reasonable evidence for that claim; if ALCS determines in consultation with the counsel to

     the Student Class that the claim is adequately supported, the subsequent distributions will be

     recalculated to reflect such claim. But any distribution otherwise payable to a Class Member

     who does not surface until after the second distribution will revert to the Common Fund and

     such Class Member will not receive any further distributions.

  37. In addition, if a Class Member disputes the credits earned or attempted on file, a Class

     Member will have the opportunity to provide reasonable evidence for that claim; if ALCS

     determines in consultation with the counsel to the Student Class that the claim is adequately

     supported, the distributions will be recalculated to reflect such claim.

  38. Once all distributions have been made, if there is an amount that is too small to merit another

     distribution, taking into account costs of distribution, Student Claimants will submit to the

     Court a motion to approve a Cy Pres distribution.

             B. Student Claimants’ Award

  39. Jorge Villalba, James Eric Brewer, Joshua Cahill, Juan Hincapie, and Cheryl House, the

     named plaintiffs for the Student Class, played an indispensable role in this litigation. They


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     chose to step up and fight back against ITT on behalf of their fellow students, taking time out

     of their own schedules to right wrongs committed by an institution that betrayed their trust.

     They made a commitment to represent former ITT students when they had no idea if or what

     the outcome of the litigation would be. Thanks to the contributions of these five Student

     Claimants, the class procured significant injunctive relief—providing immediate relief to

     members of the class—and a settlement allowing $1,500,000,000 in unsecured claims against

     each debtor, the largest of any unsecured creditor class in this Bankruptcy proceeding.

  40. Student Claimants request incentive awards of $10,000 per Student Claimant on the basis of

     their contributions to the Class and participation in the litigation.

  41. The Seventh Circuit recognizes that “[a] named plaintiff is an essential ingredient of any

     class action.” Cook v. Niedert, 142 F.3d 1004, 1016 (7th Cir. 1998). Courts evaluate the

     contributions of named plaintiffs to the class to determine the appropriateness of a proposed

     incentive award. Id. At 1016-17; see also Camp Drug Store, Inc. v. Cochran Wholesale

     Pharmaceutical, Inc., 897 F.3d 825, 834 (7th Cir. 2018). In the Seventh Circuit courts have

     broad discretion to approve proposed class representative incentive awards. Camp Drug

     Store, 897 F.3d at 834-35. By way of example only, the District Court in Miner et al. v. ITT

     Educational Services Inc. approved incentive awards of $10,000 per Class Representative as

     part of the settlement agreement entered into between the ITT bankruptcy Trustee and the

     plaintiff class. See Miner et al. v. ITT Educational Services Inc, 3:16-cv-04827-VC [Doc.

     79].

  42. The Class Claimants in this matter participated extensively in this litigation over the course

     of several years, providing written testimony, meeting many times with Student Class

     counsel, providing significant assistance with the Complaint, and providing crucial input on



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     the Settlement Agreement and the Distribution Plan. In addition, Class Claimants were

     regularly consulted on other matters in the bankruptcy that affected the Student Class,

     including the Trustee’s settlement with the CFPB, and the Student Cu Connect (CUSO) and

     PEAKS entities. Consistent with Seventh Circuit precedent and the practice of the District of

     Southern Indiana, Student Claimants request incentive awards of $10,000 per Student

     Claimant on the basis of their contributions to the Class and participation in the litigation.

              C. Request for Attorneys’ Fees and Expenses for the Project on Predatory
                 Student Lending
  43. Counsel at the Project on Predatory Student Lending request attorneys’ fees in the amount of

     five percent (5%) of the total Common Fund.

  44. The Project submits that the award of attorneys’ fees from the Common Fund is appropriate

     under Supreme Court and Seventh Circuit precedent. Supreme Court precedent is clear: “a

     litigant or a lawyer who recovers a common fund for the benefit of persons other than

     himself or his client is entitled to a reasonable attorney’s fee from the fund as a whole” as a

     means of “spreading fees proportionately among those benefited by the suit.” Boeing Co. v.

     Van Gemert, 444 U.S. 472, 478 (1980) (citing Mills v. Electric Auto-Lite Co., 396 U.S. 375

     (1970); Sprague v. Ticonic National Bank, 307 U.S. 161 (1939)). Under Seventh Circuit

     precedent, the common fund doctrine controls absent an express statutory fee-shifting

     provision or attorney fee provision in the approved settlement agreement. Florin v.

     Nationsbank of Georgia, N.A., 34 F.3d 560, 563 (7th Cir. 1994); In re Southwest Airlines

     Voucher Litigation, 898 F.3d 740, 745-46 (7th Cir. 2018) (“The common-fund doctrine

     applies as a default rule unless the parties draft their settlement agreement to depart from

     it.”).




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  45. In the Seven Circuit, “when a class suit produces a fund for the class, it is commonplace to

     award the lawyers for the class a percentage of the fund.” Gaskill v. Gordon, 160 F.3d 361,

     362 (7th Cir. 1998). In determining that percentage, the Seventh Circuit directs that “courts

     must do their best to award counsel the market price for legal services, in light of the risk of

     nonpayment and the normal rate of compensation in the market at the time. In re Synthroid

     Marketing Litigation., 264 F.3d 712, 718 (7th Cir. 2001). If there was no previous

     negotiation between the parties, “the court must set a fee by approximating the terms that

     would have been agreed to ex ante, had negotiations occurred.” Synthroid., 264 F.3d 712,

     719 (7th Cir. 2001). The Seventh Circuit has said that, “the typical contingent fee is between

     33 and 40 percent…[with] some courts [suggesting] 25 percent as a benchmark figure for a

     contingent-fee award in a class action.” Gaskill, 160 F.3d 361, 362-362.

  46. In addition, the Seventh Circuit, at times, employs a “sliding scale” approach to attorney’s

     fees. See In re Synthroid Marketing Litigation., 325 F.3d 974, 978 (7th Cir. 2003) (“For

     example, the (hypothetical) ex ante contract with consumer class counsel might grant 35% of

     the first $20 million, 25% of the next $20 million, and 10% of the residue.”).

  47. Student Claimants’ are requesting a 5% fee award from the Common Fund. This would result

     in approximately $425,000 from the First Distribution, with subsequent distributions

     resulting in additional fees. Here, the Project’s request for 5% award falls well below any

     typical request and, even under any sliding scale model, is reasonable.

  48. The attorneys and paralegal staff at Project on Predatory Student Lending have, collectively,

     expended significant resources in representing the Student Class. In litigating this matter,

     attorneys and paralegals at the Project have:




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             Conducted a comprehensive investigation of ITT, including reviewing thousands of

              ITT student complaints, interviewing former ITT students and employees, and

              obtaining employee affidavits;

             Drafted and submitted a multiple-count Adversary Proceeding complaint, with over a

              thousand pages of exhibits that documented ITT’s fraud and wrongdoing;

             Fielded inquiries from hundreds of former ITT students, including Class Members;

             Provided important case updates to former ITT students, including Class Members,

              via email and our website;

             Negotiated a Settlement Agreement between Trustee and the Student Class which

              resulted in an excellent outcome for Class Members which included injunctive relief,

              return of monies to students, and a $1.5 billion allowed Proof of Claims in each of

              the Debtors’ estates;

             Filed several motions before the Court, including motions for Rule 2004

              examinations of the Department of Education and motions regarding Protective

              Orders;

             Worked with the Trustee, and other creditors, to ensure that the Student Class

              benefited from settlements with the Student CU Connect (CUSO) and PEAKS

              entities, which resulted in the discharge of all remaining loans with those entities;

              and

             Prepared for and appeared at hearings related to this matter.

  The Project conservatively estimates that it has devoted at least 2300 hours of legal services in

  the representation of the Class in this Chapter 7 proceeding.




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  49. As a result of the Project’s representation of the Student Class in this proceeding, hundreds of

     thousands of former ITT students obtained an excellent outcome, including substantial

     injunctive relief and the upcoming distributions from the bankruptcy estates. Without the

     Project on Predatory Student Lending’s involvement in this bankruptcy, former ITT students

     would not have received the outcome that was obtained, and may have never been

     represented in this bankruptcy at all.

  50. The Project on Predatory Student Lending represents the interest of hundreds of thousands

     students who have been defrauded by ITT, both in this matter and in advocacy before the

     Department of Education.

  51. As the Court is aware from prior hearings on the modification of the protective orders in this

     bankruptcy, the Project has prepared a 172-page report, with thousands of pages of related

     exhibits, documenting ITT’s wrongdoing and fraud, and harm it caused its former students.

     That report has been submitted to the Trustee for her review in accordance with the

     Protective Orders. When the report is complete, it will be submitted to the Department of

     Education together with a request that the Department discharge the remaining federal

     student debts of all former ITT students.

  52. To be clear, the Project is only seeking a fee award for its legal work in these bankruptcy

     proceedings. But the report to the Department of Education illustrates how a fee award for

     the Project’s bankruptcy services will further its mission of helping all student borrowers

     who have been harmed by postsecondary institutions like ITT. The Project is supported

     entirely by grants and donations. It contributes a portion of its grants to cover overhead at,

     but does not receive direct financial support from, Harvard Law School. An award of




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        attorneys’ fees will enable the Project to continue its work into the future, in furtherance of

        its mission.

  53. In addition to attorneys’ fees, the Project seeks the reimbursement of expenses from the

        Common Fund associated with litigating this matter. Total litigation expenses are

        $15,982.40. These expenses are detailed in Exhibit A.

                                                       NOTICE

  54.           Pursuant to the Case Management Procedures, a copy of this Motion and Exhibits

        will be served on the following (as defined in the Case Management Procedures): (a) the

        Core Group; (b) the Request for Notice List; (c) the Appearance List; and (d) Affected

        Entities.

                                   NOTICE IS GIVEN, that pursuant to the Case Management

                           Procedures, any objection to this Motion must be in writing and filed with

                           the Bankruptcy Clerk by no later than February 9, 2022, at 4:00 pm.

                           (prevailing Eastern time). Parties not represented by an attorney may

                           deliver any written objection to this Motion as follows: (a) by U.S. mail,

                           courier, overnight/express mail at Clerk, United States Bankruptcy Court,

                           Re: In re ITT Educational Services, Inc., et al., 116 U.S. Courthouse, 46

                           East Ohio Street, Indianapolis, IN 46024; or (b) by publicly accessible

                           drop box available at the Indianapolis Division located at the New York

                           Street and Pennsylvania Street entrance. The objecting party must also

                           serve a copy of the written objection on the Student Claimants counsel:

                                                   Eileen M. Connor
                                                   Victoria Roytenberg
                                                   John Sigel
                                                   LEGAL SERVICES


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                                                CENTER OF HARVARD LAW SCHOOL
                                                122 Boylston Street
                                                Jamaica Plain, MA 02130

                                                       and -

                                                Catherine Steege
                                                Melissa Root
                                                JENNER & BLOCK
                                                353 N. Clark Street
                                                Chicago, IL 60654

         13.     If an objection is NOT timely filed, the requested relief may be granted without a

  hearing. NOTICE IS FURTHER GIVEN, that in the event that an objection to this motion is

  timely filed, a hearing on this motion and such objection will be conducted on February 16,

  2022, at 1:30 pm (prevailing Eastern time), in Room 325 of the United States Courthouse, 46

  East Ohio Street, Indianapolis, IN 46204. Interested parties may also participate at the hearing

  by conference call by calling 1-888-273-3658, passcode 6349352#.

         WHEREFORE, the Student Claimants respectfully request that this Court GRANT the

  Motion and enter a final order granting the relief requested herein and any such other relief as

  may be just and proper.

  Dated: January 20, 2022


                                                               Respectfully submitted,

                                                                /s/ Victoria Roytenberg
                                                               Victoria Roytenberg (pro hac vice)
                                                               Eileen M. Connor (pro hac vice)
                                                                John D. Sigel (pro hac vice)
                                                               LEGAL SERVICES CENTER OF
                                                               HARVARD LAW SCHOOL
                                                               122 Boylston Street
                                                               Jamaica Plain, MA 02130
                                                               Phone: (617) 522-3003
                                                               Fax: (617) 522-0715



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                                                            - and –

                                                   Catherine Steege
                                                   Melissa Root
                                                   JENNER & BLOCK
                                                   353 N. Clark Street Chicago, IL 60654
                                                   Phone: (312) 222-9350
                                                   Fax: (312) 840-7352




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                                  CERTIFICATE OF SERVICE

  I hereby certify that on January 20, 2022, a copy of the foregoing Student Claimants’ Motion to
  Approve a Distribution Plan, Including an Award of Attorneys’ Fees and Expenses, and Student
  Claimants’ Incentive Awards was filed electronically. Pursuant to Section IV.C.3(a) of the Case
  Management Procedures, notice of this filing was sent to all parties registered to receive filings
  in this case through the Court’s Electronic Case Filing System. Parties may access this filing
  through the Court’s system, in compliance with Section IV. C.6 of the Case Management
  Procedures.
  I further certify that on January 20, 2022, a copy of the foregoing Student Claimants’ Motion to
  Approve a Distribution Plan, Including an Award of Attorneys’ Fees and Expenses, and Student
  Claimants’ Incentive Awards was mailed via U.S. First-Class Mail and properly addressed, to the
  following:

   311 New Rodgers Associates LLC                   John P Dillman
   c/o Kay Dee Baird                                Attorney in Charge for Taxing Authorities
   Krieg DeVault LLP                                PO Box 3064
   One Indiana Square                               Houston, TX 77253
   Suite 2800
   Indianapolis, IN 46204                           Direct Energy Business, LLC
                                                    c/o Joseph E. Bain
   Nancy Adkins                                     Edison, McDowell & Hetherington, LLP
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   Crown City, OH 45623                             Houston, TX 77002

   BGBC Partners, LLP                               City Wide Maintenance of Central Maryland
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   Indianapolis, IN 46204                           Lutherville, MD 21093

   Rebekah Hatfield                                 Rubin & Levin, P.C.
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   Branchland, WV 25506                             Indianapolis, IN 46204

   Chris W Halling                                  William Cavanaugh
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   Calabasas, CA 91302
                                                    Paul Weiser Esq.
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   Larry Hafertepe                                  Elizabeth Weller
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                                                    Suite 1000


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                                               Dallas, TX 75207
   T. Todd Egland
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   Bakersfield, CA 93389-9129                  PO Box 20207
                                               Nashville, TN 37202-0207

   Earle Browne Tower LLP                      Tammy Jones, Pro Se
   c/o Krieg DeVault LLP                       Oklahoma County Treasurer
   C. Daniel Motsinger                         320 Robert S. Kerr
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   Indianapolis, IN 46204

   Recovery Management Systems Corporation     Leland Dekay
   for Synchrony Bank                          69 Thomas Court
   25 SE 2nd Ave, Ste 1120                     Centerville, MI 49091
   Miami, FL 33131-1605
                                               Ezra N. Goldman
   Gustav Skurdal                              EZRA N. GOLDMAN, P.C.
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   Mount Vernon, IL 62864                      Southfield, MI 48034

   Kesha L Tanabe                              Kristen Trease
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   120 South Sixth Street                      Chandler, AZ 85286
   Minneapolis, MN 55402
                                               My College Guide
   Techno Training, Inc                        5500 Military Trail
   328 Office Square Lane                      Suite 22-264
   Ste. 202                                    Jupiter, FL 33458
   Virginia Beach, VA 23462-3648
                                               Pension Benefit Guaranty Corporation
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   Chandler, AZ 85286                          Indianapolis, IN 46204

   United States of America
   c/o Department of Justice                   Carly Kessler
   1100 L Street, NW                           Oppenheim & Zebrak, LLP
   Washington, DC 20005                        4530 Wisconsin Avenue, 5th floor
                                               Washington, DC 20016


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Ft. Wayne, IN 46815                            3700 Deer Lake Dr
                                               Evansville, IN 47720
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for Clear Creek Independent School Distr       Matthew Howard
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Fresno, CA 93728
                                               Jeff J. Marwil
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Ann Arbor, MI 48105                            Suite 3800
                                               Chicago, IL 60602

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Bankruptcy & Collections Division              South Point, OH 45680
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Austin, TX 78711-2548                          Allison Hopkins
                                               Ogletree Deakins Nash Smoak & Stewart
Gertrude C. Nelson                             111 Monument Circle
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                                               Steven Blahut
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Affairs, B                                     Powell, TN 37849
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Lansing, MI 48909                              Providence Melrose Vista, LLC
                                               c/o C. Daniel Motsinger
                                               Krieg DeVault LLP
                                               One Indiana Square

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                                               Suite 2800
                                               Indianapolis, IN 46204


                                                    Brian Hauck
   RREF II Walnut Creek, LLC                        Jenner & Block LLP
   c/o Jeffrey A. Hokanson                          633 West 5th Street
   Frost Brown Todd LLC                             Suite 3500
   201 North Illinois Street, Suite 1900            Los Angeles, CA 90071
   Indianapolis, IN 46204
                                                    Maryland Higher Education Commission
   Phil Bystry                                      6 North Liberty Street
   3022 E. Palmyra Ave                              10th Floor
   Orange, CA 92869                                 Baltimore, MD 21201

   Joe Cancelliere                                  Jared Mattern
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   Billerica, MA 01821                              Lake Stevens, WA 98258

   Tomas Canizales                                  Joseph Mazzara
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   Cameron TX 76520                                 Coral Springs, FL 33071

   Central Indiana Maintenance, Inc., d/b/a City    Jake Mills
   Wide                                             6445 Hermosa Ave
   5155 N. Shadeland Avenue, Suite 101              Yucca Valley, CA 92284
   Indianapolis, IN 46226
                                                    Don Monteaux
   Expressive Communication Consulting &            DBA Don Monteaux Photography
   Training                                         203 43rd St
   4344 Madison St NE                               Virginia Beach, VA 23451
   Minneapolis, MN 55421

   John Hicks                                       Raul Gonzalez
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   Mechanicsville, VA 23111                         Joliet, IL 60431

   Kim Denise Ingram
   1060 Kennesaw Due W Rd, NW
   Kennesaw, GA 30152




                                                                            /s/ Victoria Roytenberg
                                                                                Victoria Roytenberg


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                                     Exhibit A

                                    [Expenses]
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  Villalba v. ITT Educational Services Inc. (In re ITT Educational Services Inc.), Adv. Case No.
  17-50003 (Bankr. S.D. Ind. Jan. 3, 2017)
  Case Expenses

   DATE                         AMOUNT                            CATEGORY
                    8/10/2018                           $100.00   Court & Bar Admissions
                   12/22/2016                            $18.17   Fedex & Mail
                    1/10/2017                           $144.48   Fedex & Mail
                    1/19/2017                            $14.31   Fedex & Mail
                    1/26/2017                            $10.76   Fedex & Mail
                    1/26/2017                            $10.76   Fedex & Mail
                     6/8/2018                             $9.24   FedEx & Mail
                     6/8/2018                             $9.33   FedEx & Mail
                     6/8/2018                            $10.75   FedEx & Mail
                     6/8/2018                            $11.36   FedEx & Mail
                     6/8/2018                            $11.36   FedEx & Mail
                     6/8/2018                            $11.36   FedEx & Mail
                     6/8/2018                            $11.36   FedEx & Mail
                     6/8/2018                            $11.36   FedEx & Mail
                     6/8/2018                            $11.36   FedEx & Mail
                     6/8/2018                            $11.36   FedEx & Mail
                     6/8/2018                            $12.30   FedEx & Mail
                     6/8/2018                            $12.30   FedEx & Mail
                     6/8/2018                            $12.30   FedEx & Mail
                     6/8/2018                            $12.30   FedEx & Mail
                     6/8/2018                            $12.87   FedEx & Mail
                     6/8/2018                            $12.87   FedEx & Mail
                     6/8/2018                            $12.87   FedEx & Mail
                     6/8/2018                            $12.87   FedEx & Mail
                     6/8/2018                            $13.34   FedEx & Mail
                     6/8/2018                            $15.46   FedEx & Mail
                     6/8/2018                            $15.46   FedEx & Mail
                     6/8/2018                            $15.46   FedEx & Mail
                     6/8/2018                            $15.46   FedEx & Mail
                     6/8/2018                            $15.46   FedEx & Mail
                     6/8/2018                            $16.40   FedEx & Mail
                     6/8/2018                            $16.97   FedEx & Mail
                     6/8/2018                            $18.38   FedEx & Mail
                     6/8/2018                            $18.38   FedEx & Mail
                     6/8/2018                            $19.94   FedEx & Mail
                     6/8/2018                            $20.16   FedEx & Mail
                     6/8/2018                            $20.43   FedEx & Mail
                     6/8/2018                            $20.43   FedEx & Mail
                    6/21/2018                           $172.90   FedEx & Mail
                    7/26/2018                            $12.87   FedEx & Mail
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  Villalba v. ITT Educational Services Inc. (In re ITT Educational Services Inc.), Adv. Case No.
  17-50003 (Bankr. S.D. Ind. Jan. 3, 2017)
  Case Expenses

                    7/27/2018                            $15.46   FedEx & Mail
                    7/27/2018                             $7.82   FedEx & Mail
                    7/27/2018                            $11.36   FedEx & Mail
                    7/27/2018                            $11.44   FedEx & Mail
                     8/2/2018                             $6.84   FedEx & Mail
                    10/2/2018                            $24.70   FedEx & Mail
                   12/14/2018                            $27.70   FedEx & Mail
                     1/4/2019                            $31.65   FedEx & Mail
                    5/24/2019                            $21.25   FedEx & Mail
                    6/26/2019                            $35.80   FedEx & Mail
                     8/7/2019                            $19.30   FedEx & Mail
                     8/8/2019                            $22.40   FedEx & Mail
                    10/9/2019                            $22.40   FedEx & Mail
                   10/29/2019                            $22.40   FedEx & Mail
                   11/14/2019                            $43.45   FedEx & Mail
                   11/21/2019                          $106.97    FedEx & Mail
                    12/5/2019                            $51.00   FedEx & Mail
                     4/3/2020                            $43.35   FedEx & Mail
                    5/26/2020                            $25.90   FedEx & Mail
                    6/22/2020                            $21.60   FedEx & Mail
                   11/23/2020                             $4.00   FedEx & Mail
                    2/11/2021                            $22.11   FedEx & Mail
                    8/23/2021                            $57.00   FedEx & Mail
                    9/21/2021                             $7.63   FedEx & Mail
                   10/25/2021                          $138.80    FedEx & Mail
                   12/13/2021                          $100.00    FedEx & Mail
                   12/16/2016                          $100.00    Filing Fees
                   12/16/2016                          $100.00    Filing Fees
                   12/16/2016                          $100.00    Filing Fees
                   12/16/2016                          $100.00    Filing Fees
                     1/3/2017                          $350.00    Filing Fees
                   10/25/2016                          $577.70    Travel
                   10/25/2016                          $315.90    Travel
                    11/2/2016                          $114.23    Travel
                    1/12/2017                            $26.60   Travel
                    1/24/2017                         $2,131.08   Travel
                    1/24/2017                          $589.60    Travel
                    1/24/2017                          $155.84    Travel
                    1/25/2017                          $417.69    Travel
                    1/25/2017                          $139.23    Travel
                    1/25/2017                            $17.00   Travel
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  Villalba v. ITT Educational Services Inc. (In re ITT Educational Services Inc.), Adv. Case No.
  17-50003 (Bankr. S.D. Ind. Jan. 3, 2017)
  Case Expenses

                    1/25/2017                             $4.00   Travel
                    1/29/2017                            $69.41   Travel
                    1/30/2017                            $48.00   Travel
                    1/30/2017                            $45.72   Travel
                    1/30/2017                            $44.10   Travel
                    1/30/2017                            $16.34   Travel
                    1/30/2017                            $16.10   Travel
                    1/30/2017                            $10.28   Travel
                    1/30/2017                             $7.20   Travel
                    1/30/2017                             $6.50   Travel
                     2/1/2017                           $899.76   Travel
                     2/1/2017                           $336.16   Travel
                     2/8/2017                            $42.35   Travel
                     2/8/2017                             $8.00   Travel
                     2/9/2017                           $380.68   Travel
                     2/9/2017                            $35.75   Travel
                    2/10/2017                            $52.90   Travel
                    2/10/2017                            $40.69   Travel
                    2/10/2017                            $13.51   Travel
                    2/14/2017                            $52.90   Travel
                    3/17/2017                            $62.39   Travel
                     4/5/2017                           $515.60   Travel
                     4/5/2017                           $311.30   Travel
                     4/5/2017                            $31.78   Travel
                     4/6/2017                           $182.20   Travel
                    4/11/2017                           $749.88   Travel
                     5/5/2017                           $275.30   Travel
                     6/1/2017                           $120.41   Travel
                    1/26/2018                           $174.33   Travel
                    1/26/2018                           $660.00   Travel
                     2/1/2018                             $9.40   Travel
                     2/1/2018                             $9.74   Travel
                     2/1/2018                            $25.54   Travel
                     2/1/2018                            $32.79   Travel
                     7/5/2018                           $729.96   Travel
                     7/6/2018                           $773.96   Travel
                    7/10/2018                             $5.67   Travel
                    7/10/2018                            $23.62   Travel
                    7/10/2018                           $205.24   Travel
                    7/10/2018                            $22.95   Travel
                    7/11/2018                            $20.15   Travel
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  Villalba v. ITT Educational Services Inc. (In re ITT Educational Services Inc.), Adv. Case No.
  17-50003 (Bankr. S.D. Ind. Jan. 3, 2017)
  Case Expenses

                    7/11/2018                            $22.57   Travel
                    7/11/2018                            $25.71   Travel
                    7/11/2018                            $32.00   Travel
                    7/11/2018                            $27.59   Travel
                    7/11/2018                            $30.86   Travel
                    7/11/2018                             $8.00   Travel
                    7/11/2018                             $8.00   Travel
                     8/8/2018                           $211.78   Travel
                    9/25/2018                            $32.30   Travel
                    9/25/2018                             $4.64   Travel
                    9/26/2018                           $278.78   Travel
                    9/26/2018                            $11.64   Travel
                    9/26/2018                            $22.66   Travel
                    9/26/2018                            $10.85   Travel
                    9/26/2018                            $18.17   Travel
                    9/26/2018                             $9.00   Travel
                    9/26/2018                           $209.43   Travel
                    9/27/2018                            $23.53   Travel
                    10/2/2018                            $19.00   Travel
                   11/20/2018                           $431.40   Travel
                   11/27/2018                            $39.04   Travel
                   11/28/2018                           $200.94   Travel
                   11/28/2018                             $9.76   Travel
                   11/28/2018                             $6.45   Travel
                   11/28/2018                            $21.39   Travel
                   11/28/2018                            $50.95   Travel
                   11/28/2018                            $42.60   Travel
                   11/28/2018                            $28.10   Travel

   Total Travel                                      $13,394.57
   Total FedEx & Mail                                 $1,737.83
   Total Filing Fees                                   $750.00
   Total Court & Bar Admissions                        $100.00

   TOTAL                                             $15,982.40
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                                     Exhibit B
                                  [Proposed Order]
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                            UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF INDIANAPOLIS DIVISION



  IN RE:

  ITT EDUCATIONAL SERVICES, INC. et al.1                                     Chapter 7

                                       Debtors                               Case No. 16-07207-JMC-7A




         ORDER GRANTING STUDENT CLAIMANTS’ MOTION TO APPROVE A
       DISTRIBUTION PLAN, INCLUDING AN AWARD OF ATTORNEYS FEES AND
            EXPENSES, AND STUDENT CLAIMANTS’ INCENTIVE AWARDS


  Upon the motion2 (the “Motion”) [Doc.                ] of Student Claimants for an order pursuant to

  Federal Rules of Bankruptcy Procedure (“FRBP”) 9014 applying FRBP 7023, having

  jurisdiction over this Motion pursuant to 28 U.S.C. § 1334; it appearing that venue in this Court

  is proper pursuant to 28 U.S.C. §§ 1408 and 1409; it appearing that this matter affects the




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     The debtors in these cases, along with the last four digits of their respective federal tax identification numbers are
  ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].
  2
    Capitalized terms used but not otherwise defined herein shall have the meanings used in the Motion.
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  administration of the debtors’ estate; and having heard the representations of counsel for Student

  Claimants at a hearing on February 16, 2022; after due deliberation thereon, it is hereby

  ORDERED:

         1. The Motion is GRANTED:

         2. The Distribution Plan proposed in the Motion is approved and Student Claimants,

             working with American Legal Claims Services, are authorized to commence

             distribution to Class Members under the Distribution Plan;

         3. The Student Claimants’ request for incentive awards from the Common Fund is

             approved in the amount of $10,000 per Student Claimant;

         4. The Student Claimants’ request for attorneys’ fees for the Project on Predatory

             Student Lending from the Common Fund is approved in the amount of 5% of the total

             Common Fund; and

         5. The Student Claimants’ request for expenses expended by the Project on Predatory

             Student Lending from the Common Fund is approved in the amount of $15,982.40.
